                                                                     (SPACE BELOW FOR FILING STAMP ONLY)
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 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                               ********
11    UNITED STATES OF AMERICA,                             Case No.: CR-F-03-5453 OWW
12                  Plaintiff,
13           vs.                                                ORDER GRANTING LEAVE TO
                                                              PROCEED IN FORMA PAUPERIS TO
14    EDDY A. GEORGE,                                          DEFENDANT, EDDY A. GEORGE
15                  Defendant.
16
17          For good cause shown and because Defendant, EDDY A. GEORGE, has demonstrated
18   that he qualifies for services funded pursuant to the Criminal Justice Act, 18 U.S.C. §3006A,
19   leave is hereby granted for Defendant GEORGE to proceed herein in forma pauperis, nunc pro
20   tunc to the date the trial transcripts were ordered.
21
22          DATED: August __15___, 2005.
23
24                                                  /s/ OLIVER W. WANGER
                                                    ____________________________________
25                                                    OLIVER W. WANGER
                                                     U. S. District Court Judge
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